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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                   v.                     )                 No.     21-cr-540 (PLF)
Timothy Allen Hart                        )
                                          )
             Defendant.                   )
__________________________________________)

      MOTION TO MODIFY CONDITIONS OF RELEASE TO ALLOW TRAVEL

       COMES NOW, the defendant, Timothy Allen Hart, by and through his counsel, and

herein respectfully moves the Court to modify the conditions of his pre-trial release to allow him

to travel on a pre-paid cruise leaving from Fort Lauderdale, FL on April 9, 2022 and returning on

April 16, 2022. Counsel submits the following in support of this motion.

   1. On June 30, 2021, Mr. Hart was arrested in Huber Heights, OH on a criminal complaint

       alleging violations of 18 U.S.C.§ § 1752, 231(a)(3), 1512 (c)(2), and 40 U.S.C.

       §5104(e)(2)(D) and (G).

   2. He was released on pre-trial release under standard conditions of release, which specify

       that all travel outside the continental United States must be approved by the court. See

       ECF No. 7.

   3. Mr. Hart was indicted on August 25, 2021, for the same charges alleged in the criminal

       complaint, to which he entered a plea of not guilty on September 21, 2021. The

       government obtained a superseding indictment alleging the same charges but amending

       language on January 6, 2022. Mr. Hart also entered a plea of not guilty to the

       superseding indictment on February 1, 2022.




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   4. To undersigned counsel’s knowledge, Mr. Hart has been compliant with his conditions of

       pre-trial release. See ECF No. 15, 17.

   5. Before Mr. Hart was charged on the instant offense, he paid for a cruise that he ultimately

       had to cancel because he was arrested in this matter. He purchased this cruise in

       February of 2019 and he has been given until December of 2022 to use the credit from

       the cancelled cruise.

   6. For this reason, Mr. Hart respectfully requests that the Court allow him to travel on this

       cruise that would depart on April 9, 2022 from Fort Lauderdale, FL and return on April

       16, 2022. This cruise would travel to San Juan, Puerto Rico, St. Thomas, and St. Kitts &

       Nevis. Mr. Hart, along with other passengers, would leave the ship at each of these

       destinations during the day and would have to re-board the ship at the end of the day.

   7. Mr. Hart has been compliant with his pre-trial release and does not pose a risk of flight.

       Furthermore, he has been present at each court proceeding in this manner and will

       continue to abide by his court ordered conditions.



   WHEREFORE, Mr. Hart respectfully requests that the Court modify his conditions of release

to permit him to travel outside of the continental United States only for the purpose of traveling

on this cruise leaving on April 9, 2022 and returning on April 16, 2022.



                                              Respectfully submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                              ____________/s/______________
                                              Maria N. Jacob
                                              Assistant Federal Public Defender

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                           D.C. Bar No. 1031486
                           625 Indiana Ave. NW, Ste. 550
                           Washington, D.C. 20004
                           (202) 208-7500
                           Maria_jacob@fd.org




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